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UlS`lRlC"l` Ul"" ?ll“l
l In re GTAT Advanced Technologies. Inc.. et al, Debtors. Case No. l4-l 1916

TRANSFER OF CLAIl\/I OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under ll U.S.C. § llll(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

/
Centerbridze Special Credit Partners II. L.P. Jefferies Leveraged Credit Products. LLC

 

 

 

Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 790
should be sent: Amount of Claim Transferred: 34.37% or

/ $685.787.05 (Ofwhi¢h $551~317.66 is Generai

Centerbridge Special Credit Partners II, L.P. Unsecured and §134,469.39 is claimed as priorig
Attn: Bank Debt Operations under 503(b)§9 11
375 Part Avenue Date Claim Filed: 1/23/2015
13th Floor Debtor: GTAT Corooration

 

New York, NY 10152
Fax: 1-972-528-4036
Email: loanadmin@centerbridge.com

Phone: Phone:
Last Four Digits of Acct #: Last F our Digits of Acct. #:

 

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last F our Digits of Acct #:

 

NYC;309727.1

 

 

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I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

CENTERBRlDGE SPECIAL CREDIT PARTNERS II, L.P. /

By V/< § ` `°““'”'““------,» Date: February|_$, 2015

Name ofTransferee/Transferee’ s Agent

Penally for making a false statement Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

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NYC:309727.1

 

 

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EXECUTION COPY

Exhibit B
EVIDENCE OF TRANSFER OF CLAIM

TO: THE DEBTOR AND THE BANKRUPTCY COURT

For value received, the adequacy and sufficiency of which are hereby acknowledged, Jefferies
Leveraged Credit Products, LLC (“Assignor”) hereby unconditionally and irrevocably sells, transfers and
assigned to Centerbridge Special Credit Partners II, L.P. (“Assignee”) 34.37% or $685,787.05"0f its right, title,
interest, claims and causes of action in and to, or arising under or in connection with, its claims (as such term is
defined in Section 101(5) f the U.S. Bankruptcy Code), consisting of (i) a general, un ecured claim in the
amount of $551,317.66 MO (ii) an administrative claim in the amount of $134,469.39 pursuant to 11 U.S.C.
§503(b)(9), in each case against GTAT Corporation (the “Debtor”), Case No. 14-11919, United States
Bankruptcy Court for the District of New Hampshire (the “Bankruptcy Court”), and the proof of claim
identified by claim number 790 filed by Assignor with the Bankruptcy Court in respect of the foregoing claims.

Assignor hereby waives any objection to the transfer of the claim to Assignee on the books and records
of the Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or
right to a hearing as may be imposed by Rule 3001(e)(2) of the Federal Rules of Bankruptcy Procedure, the
Bankruptcy Code, applicable local bankruptcy rules or applicable law. Assignor acknowledges and
understands, and hereby stipulates, that an order of the Bankruptcy Court may be entered without further notice
to Assignor transferring to Assignee the foregoing claim and recognizing Assignee as the sole owner and holder
of the claim. Assignor further directs the Debtor, the Bankruptcy Court and all other interested parties that all
further notices relating to the claim, and all payments or distributions of money or property in respect of the
claim, shall be delivered or made to Assignee.

/
CENTERBRIDGE SPECIAL CREDIT PARTNERS JEFFERIES LEVERAGED CREDIT PRODUCTS,

II, L.P ./ ' LLC
By@¥`\ By:

NAME: \_/ NAME:
TITLE: t TITLE:

 

 

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EXhibit B
EVIDENCE OF TRANS_FER OF CLAIM

TO: THE DEBTOR AND THE BANKRUPTCY COURT

For value re<:eived,4 the adequacy and sufficiency of which are hereby acknowledged, J'efferies
Leveraged Credit Products, LLC (“Assignor”) hereby unconditionally and irrevocably sells, transfers and
assigned to Centerbridge Special Credit Partners II, L.P. (“Assignee”) 34.37% or $685,787.05 of its right, title,
interest, claims and causes of action in and to, or arising under or in connection with, its claims (as such term is
defined in Section 101(5) of the U.S. Bankruptcy Code), consisting of (i) a general, unsecured claim in the
amount of $551,317.66 and (ii) an administrative claim in the amount of $134,469.39 pursuant to ll U.S.C.
§503(b)(9), in each case against GTAT Corporation (the “Debtor”), Case No. 14-11919, United States
Bankruptcy Court for the District of New Hampshire (the “Bankruptcy Court”), and the proof of claim
identified by claim number 790 filed by Assignor with the Bankruptcy Court in respect of the foregoing claims.

Assignor hereby waives any objection to the transfer of the claim to Assignee on the books and records
of the Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or
right to a hearing as may be imposed by Rule 3001`(@)(2) of the F ederal Rules of Bankruptcy Procedure, the
Bankruptcy Code, applicable local bankruptcy rules or applicable law. Assignor acknowledges and
understands, and hereby stipulates, that an order of the Bankruptcy Court may be entered without further notice
to Assignor transferring to Assignee the foregoing claim and recognizing Assignee as the sole owner and holder
of the claim. Assignor further directs the Debtor, the Bankruptcy Court and all other interested parties that all
further notices relating to the claim, and all payments or distributions of money or property in respect of the
claim, shall be delivered or made to Assignee.

CENTERBRIDGE SPECIAL CREDIT PARTNERS JEFFERIES LEVERAGED CREDIT PRO‘DUCTS,

 

 

n,L.P. LLC .
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NAME NAME' w‘ H'¢A i/ MCL`,,LSM)\I

TITLE; v TITLE: P

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